       Case 18-14603-MBK            Doc 1152 Filed 08/24/20 Entered 08/24/20 14:40:28                        Desc
                                         Final Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                          Case No.: 18−14603−MBK
                                          Chapter: 11
                                          Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Princeton Alternative Income Fund, LP
   100 Canal Pointe Blvd
   Ste 208
   Princeton, NJ 08540−7063
Social Security No.:

Employer's Tax I.D. No.:
  47−2267875

                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Matthew Cantor is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: August 24, 2020                          Michael B. Kaplan
                                                Judge, United States Bankruptcy Court
